Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 1 of 9 Page ID #:300




                                  FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 CINDY OMIDI; ASSET                   No. 15-55667
                 MANAGEMENT
                 IRREVOCABLE TRUSTS via                D.C. No.
                 Trustee ASIATRUST NEVIS,      2:15-cv-00389-ODW-VBK
                 LTD., aka Asiatrust, Ltd.;
                 and PROPERTY CARE
                 INSURANCE, INC.,                       OPINION
                     Petitioners-Appellants,

                             v.

                 UNITED STATES OF
                 AMERICA,
                      Respondent-Appellee.


                       Appeal from the United States District Court
                           for the Central District of California
                        Otis D. Wright II, District Judge, Presiding

                         Argued and Submitted January 11, 2017
                                  Pasadena, California

                                  Filed March 13, 2017
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 2 of 9 Page ID #:301




                2                    OMIDI V. UNITED STATES

                Before: Alex Kozinski and Paul J. Watford, Circuit Judges,
                          and Mark W. Bennett,* District Judge.

                                    Opinion by Judge Watford


                                           SUMMARY**


                                          Civil Forfeiture

                    The panel affirmed the district court’s order denying
                appellants’ motion for return of seized funds under the Civil
                Asset Forfeiture Reform Act of 2000 (CAFRA), 18 U.S.C.
                § 983(a)(1)(F).

                    In connection with an ongoing criminal investigation, the
                government seized around $100 million from bank accounts
                controlled by appellants as proceeds of criminal activity and
                subject to forfeiture under 18 U.S.C. § 981. Appellants
                alleged that the government did not provide the notice
                required by § 983(a)(1)(A) of CAFRA within 60 days of the
                seizure.

                    The panel held that § 983(a)(1)(A) did not apply to this
                case because the provision limits the applicability of the 60-
                day notice deadline to “nonjudicial” civil forfeiture
                proceedings, and this case involved judicial forfeiture


                    *
                     The Honorable Mark W. Bennett, District Judge for the U.S. District
                Court for the Northern District of Iowa, sitting by designation.
                    **
                      This summary constitutes no part of the opinion of the court. It has
                been prepared by court staff for the convenience of the reader.
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 3 of 9 Page ID #:302




                                  OMIDI V. UNITED STATES                      3

                proceedings. The panel held that the government could not
                have pursued nonjudicial forfeiture proceedings even if it had
                wanted to because the value of the personal property
                exceeded $500,000. 19 U.S.C. § 1607(a).


                                         COUNSEL

                Ryan D. Kashfian, Esq. (argued) and Robert A. Kashfian,
                Esq., Kashfian & Kashfian LLP, Century City, California, for
                Petitioners-Appellants.

                Steven R. Welk (argued), Assistant United States Attorney,
                Chief, Asset Forfeiture Section; Eileen M. Decker, United
                States Attorney; Lawrence S. Middleton, Assistant United
                States Attorney, Chief, Criminal Division; Office of the
                United States Attorney, Los Angeles, California; for
                Respondent-Appellee.


                                          OPINION


                WATFORD, Circuit Judge:

                    As part of the Civil Asset Forfeiture Reform Act of 2000
                (CAFRA), Pub. L. No. 106–185, 114 Stat. 202, Congress
                imposed new deadlines for the processing of civil forfeiture
                claims. Under CAFRA, when the federal government seizes
                certain types of property, it must generally provide notice of
                the seizure to interested parties as soon as practicable, but in
                no event later than 60 days after the seizure occurs. 18
                U.S.C. § 983(a)(1)(A). After receiving notice, a person with
                an interest in the property may file a claim with the relevant
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 4 of 9 Page ID #:303




                4                 OMIDI V. UNITED STATES

                agency. § 983(a)(2)(A). Upon receiving a claim, the
                government must file a civil or criminal forfeiture action
                within 90 days, unless a court extends the deadline.
                § 983(a)(3)(A).

                    In this case, in connection with an ongoing criminal
                investigation, the government obtained warrants authorizing
                it to seize roughly $100 million from bank accounts
                controlled by the appellants. The government asserts that the
                funds are proceeds of criminal activity and thus subject to
                forfeiture under 18 U.S.C. § 981, the primary statute
                authorizing forfeiture of property tied to criminal
                wrongdoing. The appellants allege that although they learned
                of the seizure shortly after it occurred, the government did not
                provide the notice required by § 983(a)(1)(A) within 60 days
                of the seizure. As a consequence of that failure, they contend,
                the government must return the seized funds under
                § 983(a)(1)(F). That provision provides, as a sanction for
                violating subsection (A), that “the Government shall return
                the property to [the person from whom it was seized] without
                prejudice to the right of the Government to commence a
                forfeiture proceeding at a later time.” The district court
                denied the appellants’ motion on the ground that
                § 983(a)(1)(A) does not apply in this case. We agree with
                that conclusion.

                    Section 983(a)(1)(A)(i) provides in relevant part as
                follows:

                       Except as provided in clauses (ii) through (v),
                       in any nonjudicial civil forfeiture proceeding
                       under a civil forfeiture statute, with respect to
                       which the Government is required to send
                       written notice to interested parties, such notice
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 5 of 9 Page ID #:304




                                   OMIDI V. UNITED STATES                          5

                        shall be sent in a manner to achieve proper
                        notice as soon as practicable, and in no case
                        more than 60 days after the date of the
                        seizure.

                (Emphasis added.)

                    In our view, the italicized phrase resolves this appeal. It
                limits the applicability of the 60-day notice deadline to
                “nonjudicial” civil forfeiture proceedings. This case involves
                judicial forfeiture proceedings, so the notice provision at
                issue does not apply. Explaining why requires a brief
                description of the difference between judicial and nonjudicial
                forfeiture proceedings.1

                    As the term implies, in nonjudicial (administrative)
                forfeiture proceedings, the government may obtain title to
                forfeited property without any involvement by the courts.
                The procedure is authorized by provisions of the Tariff Act of
                1930, found at 19 U.S.C. §§ 1607 and 1609. Those
                provisions pertain to customs cases, but the forfeiture statute
                the government invokes here—18 U.S.C. § 981—
                incorporates them by reference (as modified by CAFRA).
                § 981(d); see Stefan D. Cassella, Asset Forfeiture Law in the
                United States § 4-3, at 153 (2d ed. 2013).

                    To start the administrative forfeiture process, the
                government must provide notice to interested parties after
                seizing the targeted property. 19 U.S.C. § 1607(a). If no one
                comes forward to claim an interest in the property within the
                deadline specified in the notice, the government may declare

                    1
                       We limit our discussion to forfeitures governed by CAFRA; some
                forfeitures are exempted from the Act’s requirements. § 983(i).
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 6 of 9 Page ID #:305




                6                 OMIDI V. UNITED STATES

                the property forfeited, at which point title passes to the United
                States. 18 U.S.C. § 983(a)(2)(B); 19 U.S.C. § 1609. If a
                claimant does come forward to claim an interest in the
                property, the administrative forfeiture process ceases and
                within 90 days the government must initiate a judicial
                forfeiture proceeding—a formal court action which, if
                successful, results in a court order declaring the property
                forfeited. 18 U.S.C. § 983(a)(3). The government may
                initiate judicial forfeiture proceedings in one of two ways: by
                filing a civil forfeiture complaint in the district court, or by
                obtaining a criminal indictment alleging that the property is
                subject to forfeiture. Id.

                    Certain types of property are not eligible for nonjudicial
                forfeiture proceedings; they may be forfeited only through
                proceedings in court. The government may obtain forfeiture
                of real property, for example, only through judicial forfeiture
                proceedings. 18 U.S.C. § 985(a). The same is true with
                respect to personal property worth more than $500,000,
                subject to a few exceptions not relevant here. 19 U.S.C.
                § 1607(a); see Cassella § 4-3, at 154–55.

                   To obtain forfeiture of the seized funds in this case, the
                government must pursue judicial forfeiture proceedings
                because the value of the property far exceeds $500,000. The
                government could not have pursued nonjudicial forfeiture
                proceedings even if it had wanted to. That is why the notice
                deadline imposed by § 983(a)(1)(A)—limited on its face to
                nonjudicial forfeiture proceedings—does not apply here.

                    The appellants counter this straightforward textual
                reading of § 983(a)(1)(A) by relying on the last clause of the
                provision, which states that the required notice “shall be sent
                in a manner to achieve proper notice as soon as practicable,
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 7 of 9 Page ID #:306




                                  OMIDI V. UNITED STATES                       7

                and in no case more than 60 days after the date of the
                seizure.” (Emphasis added.) The appellants contend that
                when Congress said “in no case” it meant in no case of any
                kind, whether involving judicial or nonjudicial forfeiture
                proceedings. Read in context, though, it is evident that the
                phrase “in no case” was used to mean “in no event” or “in no
                instance.” It qualifies the requirement that notice must be
                given “as soon as practicable” by setting an outer limit on the
                time period within which notice must be sent. It does not
                establish a freestanding notice deadline of its own, much less
                one that overrides the statute’s clear statement that the notice
                deadline applies only in “nonjudicial civil forfeiture
                proceeding[s].”

                    The appellants contend that our reading of the statute
                leads to an apparent anomaly, which they describe as follows:
                Owners of personal property worth less than $500,000 are
                generally entitled to notice within 60 days of the seizure of
                their property, and by promptly filing a claim, they can force
                the government to initiate court proceedings within 90 days,
                absent a court-approved extension. Owners of personal
                property worth more than $500,000, however, are not entitled
                to the same procedural protections. The government may
                seize their property and delay initiating judicial forfeiture
                proceedings for a lengthy period of time, subject only to the
                limits imposed by the Due Process Clause. See United States
                v. $8,850 in U.S. Currency, 461 U.S. 555, 564, 569–70 (1983)
                (upholding an 18-month delay). That result is at odds, the
                appellants say, with CAFRA’s objective of ensuring timely
                access to the courts for those who seek to contest the seizure
                of their property.

                   We do not think this apparent anomaly gives us license to
                rewrite the statutory text, given the clarity of § 983(a)(1)(A)’s
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 8 of 9 Page ID #:307




                8                  OMIDI V. UNITED STATES

                limitation to “nonjudicial” civil forfeiture proceedings. See
                Consumer Product Safety Commission v. GTE Sylvania, Inc.,
                447 U.S. 102, 108 (1980). In any event, though, the
                difference in treatment highlighted by the appellants is not as
                stark as they suggest. Owners of personal property worth
                more than $500,000 are not left without recourse to the courts
                when the government seizes their property and delays
                initiating judicial forfeiture proceedings for months or years
                on end. They can file a motion in the district court seeking
                return of their property under Federal Rule of Criminal
                Procedure 41(g), which provides that “[a] person aggrieved
                by an unlawful search and seizure of property or by the
                deprivation of property may move for the property’s return.”
                When criminal proceedings are already underway against the
                aggrieved property owner, such motions can be heard as part
                of the criminal case itself. Even when criminal proceedings
                are not yet underway, as was true here, an aggrieved property
                owner may invoke Rule 41(g) as a means of obtaining
                judicial review. In that situation, the motion is treated as a
                petition for civil equitable relief subject to the district court’s
                balancing of four discretionary factors. United States v.
                Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1172–74
                (9th Cir. 2010) (en banc) (per curiam).

                    Virtually all challenges to the government’s basis for
                seeking forfeiture that could be raised in judicial forfeiture
                proceedings may be raised in proceedings under Rule 41(g).
                That is not to say the proceedings are equivalent, as the
                claimant bears the burden of proof in a Rule 41(g)
                proceeding, United States v. Gladding, 775 F.3d 1149, 1152
                (9th Cir. 2014), whereas the government bears that burden in
                judicial forfeiture proceedings, 18 U.S.C. § 983(c)(1); United
                States v. Hernandez-Escarsega, 886 F.2d 1560, 1576–77 (9th
                Cir. 1989). Nonetheless, the key point is that owners of
Case 2:15-cv-00389-ODW-VBK Document 32 Filed 03/13/17 Page 9 of 9 Page ID #:308




                                  OMIDI V. UNITED STATES                      9

                personal property worth more than $500,000 are not deprived
                of timely access to the courts altogether if they seek to
                challenge the government’s seizure of their property.

                    This case bears out that very point. The district court
                construed the appellants’ motion for return of the seized
                funds as a motion under Rule 41(g). The appellants could
                have challenged in that proceeding the lawfulness of the
                government’s seizure (and retention) of the $100 million.
                They could have argued, for example, that the seized funds
                lack any connection to criminal wrongdoing and thus are not
                subject to forfeiture, or that the government’s lengthy delay
                in initiating judicial forfeiture proceedings violates their due
                process rights. But they raised no such arguments. They
                instead asserted as the sole basis for relief a violation of the
                notice deadline imposed by § 983(a)(1)(A), a provision
                which, as we have explained, simply does not apply in this
                case.

                   AFFIRMED.
